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 1                                                         The Honorable John C. Coughenour
 2
 3
 4
 5
                           UNITED STATES DISTRICT COURT FOR THE
 6                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
 7
 8    UNITED STATES OF AMERICA,                         NO. CR18-217 JCC
 9
                                       Plaintiff,       UNITED STATES’ SENTENCING
10                                                      MEMORANDUM
                               v.
11
      BRADLEY WOOLARD,
12
                                       Defendant.
13
14
15          The Government joins the Probation Department and respectfully requests that the
16 Court sentence Mr. Woolard to 240 months (twenty years) imprisonment, as well as a fine
17 of one million dollars ($1,000,000), five years of supervised release, and the $100 penalty
18 assessment per count (totaling $2,800).
19          I.       DISCUSSION
20
            Mr. Woolard’s guidelines ranges is life in prison, calculated as follows:
21
            A.       Guidelines Calculations.
22
23          Group 1 - Counts 1-6, 8, 10, 28, 29, 34, 47, 48 (drug trafficking charges):
24
            Base Offense Level (USSG § 2D1.1(c)(1))                                            38
25
            Possession of a firearm/dangerous weapon (USSG § 2D1.1(b)(1)                       +2
26
27
28
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 1           Misrepresenting or marketing fentanyl/analogues as another
             substance (USSG § 2D1.1(b)(13))                                                   +4
 2
 3           Aggravating role; directly involved in importation; crime as
             a livelihood (USSG § 2D1.1(b)(16))                                                +2
 4
 5           Organizer/leader role in the offense (USSG § 3B1.1(a))                            +4
 6
             Conviction for money laundering (USSG § 2S1.1(b)(2)(B))                           +2
 7
             Adjusted offense level for drug trafficking offenses                              52
 8
 9           Group 2 – Counts 13-27 (money laundering charges)
             Base offense level (USSG §§ 2S1.1(a)(2), 2B1.1)                                   20
10
11           Knowledge that laundered funds were proceeds of drug trafficking
             (USSG § 2S1.1(b)(1)                                                               +2
12
13           Sophisticated laundering (USSG § 2S1.1(b)(3))                                     +2
14
             Adjusted offense level for money laundering offenses                              30
15
             Because the adjusted offense level for the drug trafficking charges is more than
16
     nine levels higher than the adjusted offense level for the money laundering charges, Mr.
17
     Woolard’s total offense level is 52. USSG § 3D1.4(c). The government agrees with
18
     Probation that Mr. Woolard’s only scoreable conviction is his DUI from 2010, giving
19
     him a criminal history category (CHC) of I. The government also agrees with Probation
20
     that Mr. Woolard’s advisory Guidelines range is life imprisonment.
21
                     1. Base Offense Level and Adjustments
22
             For an analysis of the offense level and adjustments, the government relies on its
23
     prior Sentencing Memoranda filed for Mr. Isham and Mr. Pelayo. See dkt. # 961 (Isham),
24
     and # 964 (Pelayo). However, the government will briefly address two of the
25
     adjustments below.
26
27
28
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 1                  2. Possession of a Dangerous Weapon (USSG § 2D1.1(b)(1))
 2          The Probation Department has correctly applied an enhancement for possession of
 3 a dangerous weapon. This enhancement should be applied “. . . if the weapon was
 4 present, unless it is clearly improbable that the weapon was connected with the offense.”
 5 Application Note, USSG § 2D1.1(b)(1). Mr. Woolard possessed dozens of guns,
 6 thousands of rounds of ammunition, and four silencers. He purchased this “arsenal” (Mr.
 7 Pelayo’s word), from co-conspirator Jose Lugo. Woolard made threats to kill witnesses,
 8 suggesting a willingness to use these weapons (and the silencers) against anyone who
 9 might cooperate with authorities and reveal information about this conspiracy. It is not
10 “clearly improbable” that this arsenal was connected with the offense.
11                  3. Importation (USSG § 2D1.1(b)(16))
12         This guidelines section applies if “the defendant was directly involved in the
13 importation of a controlled substance.” Woolard did not just cause fentanyl and furanyl
14 fentanyl to be imported – he caused it to be manufactured (in China), especially for him;
15 he told the Chinese source of supply that he would to be willing to pay extra to encourage
16 their lab to fill his fentanyl orders. At trial, the government introduced scores of exhibits
17 depicting Woolard’s negotiations with Chinese suppliers, such as:
18                   Exhibit 576: Woolard e-mailed a Chinese supplier, “My clients want opiate
19 type or fent analogs as well as benzodiazepines. Along with mdma type products. I have
20 a vast customer base so I’ll be a bulk buyer.” He wrote that he, “hope[s] that we can
21 develop a long-term relationship;”
22                  Exhibit 667: In an e-mail to “Mary” (his supplier in China), he and Mary
23 discussed calling the fentanyl “unit 1” for safety’s sake, and discussed its purity as “99%”
24                  Exhibit 788: Woolard wrote to Mary, “I will pay 40000$ for 2kg;”
25                  Exhibit 789: Woolard to Mary: “I wish u could deliver 10 kg but two will
26 get me by a while;”
27
28
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 1                      Exhibit 820: Mary says, “Our mistake, we sent you 1.3 kilos of Fu-F by
 2 mistake.”
 3             The above examples do not include the e-mail Woolard sent to Mary, which this
 4 Court has seen on multiple occasions, in which Woolard sent a photo depicting the list of
 5 package recipients and their addresses, asking Mary to send each of the recipients three,
 6 100 gram packages of fentanyl. The government has also not mentioned the Western
 7 Union wire transfer records, or the testimony of K.S. or R.T., showing how Woolard paid
 8 for the drugs he imported. The evidence of Woolard importing fentanyl and its analogues
 9 into the United States is overwhelming.
10              B.      The Defendant’s History and Characteristics.
11             Bradley Woolard was a man ahead of his time. In 2015, while the fentanyl crisis
12 was still in its infancy in the Western District of Washington, Mr. Woolard saw the
13 enormous profits he could generate off the addiction and misery of others. Such vision is
14 not the only characteristic of Mr. Woolard’s the government is asking the Court to
15 consider in its sentencing. There is also his lifetime of drug trafficking. His arsenal of
16 weapons. The thousands of rounds of ammunition. The silencers, which are made for one
17 purpose and one purpose only. The hundreds of thousands of dollars and gold hidden
18 throughout his home. His desire to create a “trail of treatment” to avoid prison. Using the
19 drug addiction of others to pay for his own high-end drug treatment in Mexico and Costa
20 Rica.1 The threats to kill a cooperating witness and make it “look like a suicide.” The fact
21 that inside the Federal Detention Center, Woolard sent an emissary to contact witness
22 R.T., who the emissary brought R.T. to Woolard’s cell in the FDC, where Woolard told
23 R.T. he should “move to Ecuador” rather than cooperate in this case. The fact that
24
25   1
       While at the spa-like Holistic Sanctuary, Woolard continued to communicate with Pelayo, offering to help Pelayo
26   trouble shoot their pill presses. Thus, even when Woolard should have been gaining a fuller understanding of the
     misery of addiction, he was completely indifferent to those who would buy and consume the pills he and Pelayo
27   pressed and sold.

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 1 another witness, K.S., testified that someone contacted him inside the FDC and warned
 2 him he would be harmed if he “snitched” in this case.
 3           The totality of this evidence suggests that even inside prison, Woolard has the
 4 means, influence, and desire to harm others, to live like a Big Man, and to carry out the
 5 threats he asserts. In other words, Bradley Woolard thinks he is above the law. He thinks
 6 he is smarter than everyone else, and thinks he can buy his way out of trouble. Those are
 7 his characteristics, and that is his history.
 8           C.      The Nature and Circumstances of the Offenses.
 9
             The nature and circumstances of this offense were depicted in extraordinary detail
10
     during this trial, and in the many pleadings filed in this case. The government does not
11
     believe the Court needs additional information in this regard.
12
             What may bear emphasis, however, is the growing awareness of the tragedy that is
13
     the fentanyl crisis, a crisis from which Woolard saw only an opportunity to profit. On
14
     November 21, the New York Times published an article entitled, “Inside Fentanyl’s
15
     Mounting Death Toll: ‘This is Poison.’” The columnist described fentanyl as the “third
16
     wave” of the opioid crisis, which began in the 1990’s with prescription pain pills, then
17
     veered to heroin, and has now evolved to its worst drug yet. See,
18
     https://www.nytimes.com/2021/11/20/nyregion/fentanyl-opioid-deaths.html
19
     The article explains how cartels and “small-time manufacturers” have flooded U.S.
20
     streets with cheap fentanyl imported from China. A drug rehab expert was quoted as
21
     saying, “These are no longer street drugs . . . This is poison.”
22
             D. The Imposition of a Fine
23
            In light of the above, the government requests a fine of one million dollars. The
24
     reasonable inferences, from the totality of evidence adduced at trial, are that Mr. Woolard
25
     is a wealthy man and has the ability to pay a substantial fine. This evidence includes (but
26
     is not limited to) a text dated July 10, 2018, when Woolard bragged to A. S., “I’m sitting
27
     on 1.7 [million] plus I’ll have 600k in the bank next month.” (Exhibit One, Excerpt from
28
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 1 Government Closing PowerPoint). On another occasion, Mr. Woolard told A.S. that he
 2 (Woolard) had “enough fentanyl to make $12 million in pills.” DEA agents testified they
 3 recovered approximately one million dollars in cash and gold from Woolard’s house.
 4 Testimony revealed that Mr. Woolard was investing in Bitcoin in the Spring of 2018,
 5 when BTC traded for roughly $6,600 per Bitcoin. It is now worth more than $56,000 per
 6 Bitcoin, an 800% increase in value. Thus, a few hundred thousand dollars invested in
 7 BTC in 2018 would be worth millions today. Summary testimony showed that Mr.
 8 Woolard’s scheme, when calculating the number of pills that could have been made from
 9 all the binders and fillers ordered in the conspiracy, could have earned more than $25
10 million in sales at the wholesale level, with a street value two to three times that amount.
11 While the government is not asserting that Mr. Woolard made those sorts of profits, he
12 certainly made a fraction of that, well into the millions.
13         As noted in previous filings submitted by the government, the Sentencing
14 Guidelines provide that “[t]he court shall impose a fine in all cases, except where the
15 defendant establishes that he is unable to pay and is not likely to become able to pay any
16 fine.” USSG § 5E1.2(a). For Count One, 21 U.S.C. § 841(b)(1)(A), the Court may
17 impose a sentence up to ten million dollars. USSG § 5E1.2(c)(4). The Court is not
18 required to articulate specific findings of fact concerning a defendant’s ability to pay a
19 fine. See, e.g., United States v. Quan–Guerra, 929 F.2d 1425, 1427 (9th Cir. 1991)
20 (looking to evidence in record as a whole in finding that district court considered relevant
21 factors, rather than requiring specific statement of findings). “The amount of the fine
22 should always be sufficient to ensure that the fine, taken together with other sanctions
23 imposed, is punitive.” USSG § 5E1.2. Finally, the defendant bears the burden of proving
24 indigence. United States v. Robinson, 20 F.3d 1030, 1033 (9th Cir. 1994); see also United
25 States v. Orlando, 553 F.3d 1235, 1240 (9th Cir. 2009); United States v. Rafferty, 911
26 F.2d 227, 232 (9th Cir. 1990). Woolard has not met this burden, nor can he.
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 1          II.     CONCLUSION
 2         It is hard to put into words how awful and frightening the fentanyl epidemic has
 3 beeen for so many parents, families, sons, and daughters in this District. The judicial
 4 system cannot solve that epidemic through its sentence. However, this Court can speak to
 5 the families who Mr. Woolard has caused to suffer, and speak to the gravity of that
 6 epidemic, through the gravity of its sentence.
 7          Dated this 23d day of November, 2021.
 8
 9                                                Respectfully submitted,
10
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11                                                United States Attorney
12
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